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                    Exhibit 3
  Case 2:22-cv-11402-TGB ECF No. 1-3, PageID.62 Filed 03/29/22 Page 2 of 16
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(12) United States Patent                                                                   (10 ) Patent No.: US 10,075,941 B2
     Li et al.                                                                              (45) Date of Patent:    Sep. 11, 2018
(54 ) METHODS AND APPARATUS FOR                                                             H04L 27/ 26                (2006 .01)
      MULTI- CARRIER COMMUNICATION                                                          H04B 770413                (2017 .01)
      SYSTEMS WITH ADAPTIVE                                                                 H04L 1/ 00                 ( 2006 .01)
       TRANSMISSION AND FEEDBACK                                                            H04W 52 / 26               (2009.01)
                                                                                       (52) U . S . CI.
(71) Applicant: Neocific, Inc., Bellevue, WA (US)                                           ???           H04W 72 /0406 ( 2013 .01 ); H04B 7 /0413
                                                                                                         (2013 .01) ; H04L 1/ 0026 ( 2013 .01); H04L
( 72 ) Inventors : Xiaodong Li, Kirkland , WA (US );                                                    1/0029 (2013 .01 ); H04L 1/ 0068 ( 2013 .01);
                    Titus Lo , Bellevue , WA (US ); Kemin                                                          H04L 1/ 0073 (2013.01); H04L 5 /006
                   Li, Bellevue , WA (US ); Haiming                                                           ( 2013.01); H04L 5 / 0007 ( 2013.01) ; H04L
                    Huang, Bellevue, WA (US )                                                               5 /0046 ( 2013.01); H04L 5/ 0048 (2013 . 01) ;
                                                                                                              H04L 27/ 2608 ( 2013 .01) ; H04W 72 /044
( 73 ) Assignee : Neocific, Inc., Bellevue, WA (US )                                                         ( 2013 .01); H04L 1 /0003 ( 2013 .01); H04L
                                                                                                            1 /0009 ( 2013 .01) ; H04L 5 /0091 (2013 .01) ;
( * ) Notice: Subject to any disclaimer, the term of this                                                                          H04W 52 / 26 (2013 .01 )
                  patent is extended or adjusted under 35                              (58 ) Field of Classification Search
                  U . S .C . 154 (b ) by 0 days .                                               CPC .. H04W 72 /044 ; H04B 7 / 0413 ; HO4L 1/0026 ;
                                                                                                            H04L 1 /0029 ; H04L 1 / 0068 ; H04L 5 /006 ;
( 21) Appl. No.: 15 /082 ,878                                                                                                             H04L 5 /0046
(22 ) Filed : Mar. 28, 2016                                                                     USPC ........ 370 /310 , 328, 349, 350 , 431, 436 , 458
                                                                                                See application file for complete search history .
(65)                  Prior Publication Data                                           (56 )                      References Cited
       US 2017 /0055245 A1 Feb . 23 , 2017
                                                                                                         U .S . PATENT DOCUMENTS
              Related U .S . Application Data                                                  7 ,436 ,757 B1 * 10/2008 Wilson .................. H04L 5/0058
(63) Continuation of application No. 14/539 ,917 , filed on                                                                                          370 / 203
       Nov. 12 , 2014 , now Pat. No. 9, 301 ,296 , which is a                          * cited by examiner
       continuation of application No . 13 /246 ,677 , filed on
      Sep . 27 , 2011 , now abandoned , which is a                                     Primary Examiner — Dmitry H Levitan
      continuation of application No. 12 / 755,313 , filed on                          (74) Attorney , Agent, or Firm — Perkins Coie LLP
       Apr. 6 , 2010 , now Pat. No. 8, 027 ,367 , which is a
        Dr.6,2010ofapplicaUS200510
      continuation of application No. 10 /583, 529 , filed as
      application No. PCT/US2005 /004601 on Feb . 14 ,                                 (57)                   ABSTRACT
                                                                                       An arrangement is disclosed where in a multi -carrier com
      2005 , now Pat. No. 7,693 ,032 .                                               munication system , the modulation scheme, coding attri
(60 ) Provisional application No. 60 /544,521, filed on Feb .                        butes , training pilots, and signal power may be adjusted to
       13, 2004 .                                                                    adapt to channel conditions in order to maximize the overall
                                                                                     system capacity and spectral efficiency without wasting
(51) Int. Ci.                                                                          radio resources or compromising error probability perfor
      H04B 7700                ( 2006 .01)                                           mance , etc .
       H04W 72 /04             ( 2009.01 )
       H04L 5 /00              ( 2006 .01)                                                                 14 Claims, 8 Drawing Sheets

                                                                   Adaptation Process

                                                                                               Other Sub                      gain
                                                                                          gain channels
                                      Encoding                                                                 Other
                                                                           Tag                              Transmission
                                                                                                             Processing
                              RC    Punctus         -- - -> Modulation -- - - Pilots
                                     Repetition                            Insertion                         (e .g ., IFFT,
                                                                                                            Cyclic pretix ,
                                    Interleaving                                                            beamfarming
                                         501                 504               506
                                   Varying Coding         Varying
                                                       Modulation ;          Different
                                        Rate          QPSK , 16QAM ,       Pilot patterns
                                                        64QAM etc .
                                                                                                               SOS
                                                                                                         Transmission
                                                                                                         Power Control
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          atent                                    Sep . 11, 2018                                                 Sheet 1 of 8                                                                  US 10 ,075,941 B2



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          atent                                            Sep . 11, 2018                  Sheet 2 of 8                                                   US 10 ,075,941 B2


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Case 2:22-cv-11402-TGB ECF No. 1-3, PageID.67 Filed 03/29/22 Page 7 of 16


       atent          Sep . 11, 2018                                         Sheet 5 of 8                                                                    US 10 ,075,941 B2


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                                                               Modulation                                    504   MVarying:odulation ,QPSK16QAM etc.64QAM

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                                                               &Puncturing                                   501                   Rate

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Case 2:22-cv-11402-TGB ECF No. 1-3, PageID.68 Filed 03/29/22 Page 8 of 16


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Case 2:22-cv-11402-TGB ECF No. 1-3, PageID.70 Filed 03/29/22 Page 10 of 16



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                                                       US 10 ,075 ,941 B2
          METHODS AND APPARATUS FOR                                        TPC is one of many functions in some wireless systems,
        MULTI-CARRIER COMMUNICATION                                        along with MCS, pilot attributes, subchannel configuration ,
                SYSTEMS WITH ADAPTIVE                                      etc .
              TRANSMISSION AND FEEDBACK                                        The subchannel configuration is normally defined and
                                                                      5 fixed in an operation , and it is usually not considered an
              CROSS -REFERENCE TO RELATED                                  adjustable function of the system to be adapted to the user
                      APPLICATION (S )                                     profile and /or operational environment.
   This application is a continuation application of, and                          BRIEF DESCRIPTION OF THE DRAWINGS
incorporates by reference in its entirety, U .S . patent appli- 10
cation Ser. No . 14 / 539,917 , now granted U . S . Pat . No .                FIG . 1 is a representative cellular communication system .
9 , 301, 296 , filed Nov . 12 , 2014 , which is a continuation                FIG . 2 is a basic structure of a multi -carrier signal in the
application of U . S . patent application Ser. No. 13/ 246 ,677, frequency domain , made up of subcarriers.
filed Sep . 27 , 2011 , which is a continuation application of      FIG . 3 depicts a radio resource divided into small units in
U .S . patent application Ser. No. 12 /755,313 , now granted 15 both frequency and time domains : subchannels and time
U . S . Pat. No. 8 ,027,367, filed Apr. 6 , 2010 , which is a    slots .
continuation application of U .S . patent application Ser. No .     FIG . 4 is an illustration of a control process between
10 /583 , 529 , now granted U . S . Pat. No. 7 ,693, 032 , having a        Device A and Device B , each of which can be a part of a base
371 date of May 10 , 2007, which is a national stage                       station and a mobile station depicted in FIG . 1 .
application of International Application No . PCT/US2005 / 20 FIG . 5 illustrates a joint adaptation process at a transmitter
004601, filed Feb . 14 , 2005, which claims thebenefit of U .S . of an OFDM system which controls coding, modulation ,
Provisional Patent Application No. 60 /544 ,521 , filed Feb . training pilot pattern , and transmission power for a subchan
13 , 2004 . This application also relates to PCT Application nel.
No. PCT/US05/ 03518 titled “Methods and Apparatus for              FIG . 6 is an illustration of a control messaging associated
OverlayingMulti -Carrier and Direct Sequence Spread Spec - 25 with data transmission between communication devices.
trum Signals in a Broadband Wireless Communication Sys -           FIG . 7 illustrates two different training pilot patterns
tem ,” filed Jan . 27 , 2005 , which claims the benefit of U .S .          plotted for a multi- carrier system .
Provisional Application No. 60 /540 ,032 filed Jan . 29 , 2004                FIG . 8 illustrates a power control in AMCTP scheme for
and U .S . Provisional Application No. 60 /540, 586 filed Jan .            an OFDM system .
30 , 2004 .                                                           30
                                                                                        DETAILED DESCRIPTION
                   BACKGROUND
                                                                             Methods and apparatus for adaptive transmission ofwire
  Adaptive modulation and coding (AMC ) has been used in                   less communication signals are described , where MCS
wireless systems to improve spectral efficiency in a fading 35 (modulation and coding scheme ), coding rates , training pilot
environment where signal quality varies significantly . By                 patterns, TPC ( transmission power control) levels, and sub
adjusting the modulation and coding scheme (MCS ) in                       channel configurations are jointly adjusted to adapt to the
accordance with the varying signal- to - interference - plus-              channel conditions. This adaptation maximizes the overall
noise ratio (SINR ), reliable communication link can be                    system capacity and spectral efficiency without wasting
maintained between communicating devices . For example , 40 radio resources or compromising error probability perfor
in CDMA2000 1xEV -DO system , twelve different modula                      mance .
tion /coding schemes are provided . AMC is also used in                      Furthermore , the subchannel composition is designed to
CDMA2000 1xEV -DV and 3GPP HSDPA systems.                                  be configurable so that it can be adjusted statically or
   To improve performance , in addition to the MCS, other                  dynamically according to the user profiles or environmental
system functions such as channel estimation , transmission 45 conditions. The methods for obtaining the channel informa
power control (TPC ) , and subchannel configuration can be                 tion and for transmitting the control information in the joint
adjusted in accordance with the state of the communication                 adaptation scheme are also described below , such as feed
channel. For example , channel estimation typically utilizes               back of channel condition and indexing of the joint scheme,
training symbols or pilot data , which are known to both the               along with methods for reducing the overhead ofmessaging.
transmitter and the receiver . For coherent modulation , the 50               The mentioned multi - carrier system can be of any special
channel information can be extracted at the receiver by                     format such as OFDM , or Multi-Carrier Code Division
comparing the pilots and their corresponding received ver -                Multiple Access (MC -CDMA) and can be applied to down
sions. For non - coherentmodulation, the received samples of    link , uplink , or both , where the duplexing technique is either
the pilots are used as reference for the detection of the       Time Division Duplexing ( TDD ) or Frequency Division
transmitted data .                                           55 Duplexing ( FDD ).
   Channel estimation is an important part of multi -carrier       The apparatus and methods are described with respect to
(MC ) communication systems such as Orthogonal Fre -                       various embodiments and provide specific details for a
quency Division Multiplexing (OFDM ) systems. In conven -                  thorough understanding and enablement. One skilled in the
tional OFDM systems, such as IEEE802 . 11a , 802. 11g ,             art will understand that the invention may be practiced
802. 16 , or DVB - T system , pilots are transmitted for channel 60 without such details . In some instances well-known struc
estimation . The pilots are fixed and form part of other            tures and functions are not shown or described in detail to
functions such as MCS, TPC , and subchannel configuration                  avoid unnecessarily obscuring the description of the
in some wireless systems.                                                  embodiments.
   Fast TPC can compensate for fast fading. In a multi-cell            Unless the context clearly requires otherwise, throughout
multiple - access system , TPC is also used to reduce intra -cell 65 the description and the claims, the words “ comprise ," " com
and inter - cell interference and to conserve battery life for the         prising,” and the like are to be construed in an inclusive
mobile station by transmitting with only necessary power.                  sense as opposed to an exclusive or exhaustive sense ; that is
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                                                      US 10 ,075,941 B2
to say , in the sense of “ including, but not limited to .” Words coding rates , pilot patterns, power levels , spatial processing
using the singular or plural number also include the plural or    schemes , subchannel configurations, etc . in accordance with
singular number respectively. Additionally, the words the transmission channel state and condition , for improving
“ herein ,” “ above," " below ” and words of similar import, system performance and /or capacity .
when used in this application , shall refer to this application 5 Below , AMCTP (adaptive modulation, coding , training
as a whole and not to any particular portions of this and power control) is used as a general term , where its
application . When the claims use the word “ or” in reference variations can be applied to appropriate applications. There
to a list of two or more items, that word covers all of the       are different adaptive transmission schemes that are subsets
following interpretations of the word : any of the items in the     of the AMCTP scheme, such as AMCT ( adaptive modula
list, all of the items in the list and any combination of the 10 tion , coding and training), AMTP ( adaptive modulation ,
items in the list.                                                  training, and power control), AMT (adaptivemodulation and
   The content of this description is applicable to a commu         training ), and so forth .
nication system with multiple transmitters and multiple
receivers . For example , in a wireless network , there are a          FIG . 4 is an illustration of the control process between
number of base stations, each ofwhich provides coverage to 1515 DeDevice Aand Device B , each ofwhich can be a part ofa base
its designated area , typically called a cell . Within each cell, station and a mobile station depicted in FIG . 1, during
there are mobile stations . FIG . 1 illustrates a communication adaptive transmission . The transmitter 401 of Device A
system that is representative of such a system , where Base transmits data 402 and associated control information 404 to
Station 110 is communicating with Mobile Stations 101 and Device B , based on an output of the adaptation process 406 .
 102 in Sector A of its cell site while Base Station 120 is 20 After a receiver 408 of Device B receives the transmitted
communicating with Mobile Stations 103, 104, and 105 in           data 402 and control information 404 , a measurement pro
Sector B of its cell site.                                        cess 410 of Device B measures a channel conditions and
   A multi- carrier multiple -access system is a special case of    feeds a channel quality information (CQI) 412 back to
general communication systems and hereinafter is employed           Device A .
as a representative communication system to describe the 25            The granularity of AMCTP schemes in a multi -carrier
embodiments of the invention .                                      system can be user -based , where one or multiple subchan
Multi- Carrier Communication System                                 nels may be used , or the granularity can be subchannel
   The physical media resource (e . g ., radio or cable ) in a      based , where a subchannel may contain one or more sub
multi- carrier communication system can be divided in both          carriers . Likewise , the granularity of CQI can be user - or
the frequency and the time domains. This canonical division 30 subchannel- based . Both AMCTP and CQImay change over
provides a high flexibility and fine granularity for resource  time and may differ from one time slot to another.
sharing.                                                         FIG . 5 illustrates a joint adaptation process at a transmitter
   The basic structure of a multi -carrier signal in the fre-       of an OFDM system which employs separate processing
quency domain is made up of subcarriers. Within a particular        block to control the coding 502 , modulation 504, training
spectral band or channel, there are a fixed number of 35 pilot pattern 506 , and transmission power for a subchannel
subcarriers , and there are three types of subcarriers:             508 . Each block may be implemented combined or sepa
   1. Data subcarriers , which carry information data ;             rately in circuitry, in dedicated processors, in a digital signal
   2 . Pilot subcarriers, whose phases and amplitudes are       processor, as a microprocessor implemented subroutine, etc .
       predetermined and made known to all receivers and           FIG . 6 is an illustration of control messaging associated
       which are used for assisting system functions such as 40 with the data transmission between communication devices ,
       estimation of system parameters ; and                    such as Device A and B in FIG . 4 . In FIG . 6 the AMCTP
   3 . Silent subcarriers , which have no energy and are used   indicator 602 is associated with data transmission 604 on a
       for guard bands and DC carrier.                          forward link from the transmitter to the receiver , and CQI
   The data subcarriers can be arranged into groups called      606 is associated with the information feedback from the
subchannels to support scalability and multiple -access . The 45 receiver to the transmitter on a return channel.
carriers forming one subchannel are not necessarily adjacent          In a system where AMCTP is used , the transmitter relies
to each other. Each user may use part or all of the subchan         on the CQI to select an appropriate AMCTP scheme for
nels . The concept is illustrated in FIG . 2 , which is the basic   transmitting the next packet, or retransmitting a previously
structure of a multi- carrier signal in the frequency domain ,      failed packet, required in an automatic repeat request (ARQ )
made up of subcarriers . Data subcarriers can be grouped into 50 process . The CQI is a function of one or more of the
subchannels in a specified manner. The pilot subcarriers are     following: received signal strength ; average SINR ; variance
also distributed over the entire channel in a specified man -    in time; frequency or space ; measured bit error rate (BER ) ;
ner.                                                             frame error rate (FER ) ; ormean square error (MSE ). Chan
   The basic structure of a multi-carrier signal in the time nel conditions hereinafter are referred to as one or more of
domain is made up of time slots to support multiple -access . 55 the following , for a user or a subchannel: signal level, noise
 The resource division in both the frequency and time level, interference level, SINR , fading channel characteris
domains is depicted in FIG . 3 , which is the radio resource     tics (Doppler frequency , delay spread , etc . ), or channel
divided into small units in both the frequency and time profile in time or frequency domain . The detection of the
domains ( subchannels and time slots ). The basic structure of channel condition can be at the transmitter, the receiver, or
a multi - carrier signal in the time domain is made up of time 60 both .
slots.                                                       An MCS in AMCTP is referred to as a modulation and
Adaptive Transmission and Feedback                        error correction coding scheme used in the system . By
   The underlying principles of adaptive transmission and matching an MCS to a specific channel condition (e. g.,
feedback are both to increase the degree of freedom of a  SINR level ), a better throughput is achieved . Varying only
transmission process and to supply information for the 65 the MCS is a sub -optimal approach since other factors such
adaptation process of a communication system . The adap - as training pilot patterns or subchannel compositions also
tation process adjusts the allocated modulation schemes, impact system performance .
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                                                          US 10 ,075 , 941 B2
  A pilot pattern includes the number of ( training ) pilot                                       TABLE 1 -continued
symbols, the location of the symbols in time/ frequency /
space , the amplitude and phase, and other attributes of these                               An example of general AMCTP.
symbols . The system may use distinctive pilot patterns to                                              Code        Training       Transmit
suit different MCS and channel conditions. The pilot pattern 5               Index     Modulation         Rate      Pilot           Power
requirements for a robust channel estimation vary with the              13    640AM         576      Pattern 13    Max - 2x
SINR of the channel and the channel profile .                           14    64QAM         516      Pattern 14    Max - 3x
   In a multi-carrier system , pilots are transmitted on certain
positions in the time-frequency grid . FIG . 7 illustrates two of 10 In a general AMCTP or CQI table, different training pilot
many different training pilot patterns that may be used , each patterns may be used for different modulations and code
plotted for a multi -carrier system , where the dark shaded rates . However, even for the same modulation and coding,
time-frequency grids 702 are allocated as training pilot                  different patterns can be used to match different channel
symbols . One criterion for choosing a pilot pattern is that the
pilot assisted channel estimation should not be a bottleneck 15 conditions . In order to make the table more efficient, more
                                                                indexes can be allocated to the more frequently used sce
for the link performance , and that the pilot overhead should narios  . For example , several training pilot patterns can be
be kept to a minimum . The joined adaptation of training pilot
pattern together with MCS is a more effective way of allocated to the same MCS that is used more frequently , to
matching the channel conditions , and results in a better achieve finer granularity and thus have a better match with
performance compared with a mere adaptation of MCS . 20, different channel conditions.
   The power control information may include an absolute           Table 2 is a simple realization of the AMCTP index or the
power level and /or a relative amount to increase or decrease CQI index . In one embodiment, as shown in Table 2 , the
the current power setting. In a multi-carrier system , the AMCTP and CQI index is Gray coded so that one bit error
power levels of different subchannels are set differently such in the index makes the index shift to the adjacent index .
that minimum power is allocated to a subchannel to satisfy .      In some cases, a different number of pilot symbols is used
its performance requirements while minimizing interference                for the same MCS. In one embodiment, to keep the packet
to other users .                                                          size the same when the sameMCS is used with a different
    The power control can be user - or subchannel -based . FIG .          number of pilot symbols, rate matching schemes such as
8 is an illustration of a power control in an OFDM system      repetition or puncturing is employed. For instance in Table
where digital variable gains 802 G1, G2 . . . GN are applied . 2 , for Index 010 and Index 011 , Pattern 3 has more pilot
to subchannels 804 that may have different MCSs with                      symbols compared to Pattern 2 . The code rate of Index 010
different transmission power levels. Analog domain gain                                                                            accommo
806 Ga is used to control the total transmission power signal             date the extra pilot symbols. In one embodiment, more
processes to meet the requirements of the transmission                    significant bits in the CQI index are protected with stronger
power of the device. In FIG . 8 , after variable gains are                error protection code on the return channel.
applied to subchannels 804 , they are inputted to the inverse
discrete Fourier transform ( IDFT) module . The outputs from                                          TABLE 2
the IDFT are the time domain signals , which are converted                               Another example of AMCTP or CQI table .
from parallel to sequential signals after a cyclic prefix is
added to them .                                                      40      Index (Gray                     Code Training         Transmit
   Table 1 is an example of a general AMCTP table ( or COI                                 Modulation        Rate Pilot             Power
table ). It should be noted that some pilot patterns in the table               000        QPSK              1/4    Pattern 1        Max
can be the same. The total number of indexes used to                            010        OPSK              112    Pattern 2       Max
represent different combinations of the joint adaptation                        011        QPSK              716    Pattern 3       Max
process can be different for AMCTP index and CQI index . 16                     001        16QAM             112    Pattern 2       Max
For instance , it is not necessary to send absolute transmis                    101        16QAM             V16    Pattern 3       Max
                                                                                111        64QAM             2/3    Pattern 2       Max
sion power information to the receiver( s ). Some AMCTP                         110        64QAM             5/6    Pattern 3        Max
information , such as relative power control or code rate , can                  100       64QAM             576    Pattern 3      Max - X
be embedded in the data transmission instead of being
conveyed in the AMCTP index .                                        50     Other factors that can be used in the adaptation process
                                                                        include modulation constellation arrangements, transmitter
                                TABLE 1                                 antenna techniques , and subchannel configuration in a multi
                       An example of general AMCTP .                    carrier system .
                                                                           For some modulation schemes such as 16QAM and
    Index       Modulation
                                   Code
                                   Rate
                                             Training
                                             Pilot
                                                          Transmit
                                                          Transmit
                                                           Power
                                                                     55 64QAM , how information bits are mapped to a symbol
                                                                        determines the modulation schemes ' reliability . In one
                QPSK                1/16     Pattern 1      +           embodiment, constellation arrangement is adjusted in the
                QPSK                1/8      Pattern 2      +
                                                                          adaptation process to achieve a better system performance ,
                QPSK                         Pattern 3      +

                                                                          especially during retransmission in a hybrid ARQ process.
                QPSK                         Pattern 4      +

                                                                     60      Some multiple antenna techniques, such as transmission
                QPSK                         Pattern 5      +



                16QAM                        Pattern 6                    diversity , are used to improve the transmission robustness
     ONAFvWaN
                                                            +



                16QAM                        Pattern 7      +
                                                                          against fading channel effects , whereas other multiple
                16QAM                        Pattern 8      +
                                                                          antenna techniques such as multiple - input multiple -output
                16QAM                        Pattern 9      +


                                                                          (MIMO ) schemes are used to improve transmission through
                64QAM                        Pattern 10     +




                64QAM                        Pattern 11     +
                                                                     65 put in favorable channel conditions. In one embodiment of
                64QAM                        Pattern 12   Max -lx       the adaptive transmissions the antenna technique used for a
                                                                        transmission is determined by the adaptation process.
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                                                   US 10 ,075 ,941 B2
   In a multi-carriermulti-cell communication system , when        the received probing sequence . This is especially effective
all subcarriers in one subchannel are adjacent or close to        for TDD systems due to the reciprocity of the channel
each other, they are more likely to fall in the coherent          conditions on forward and reverse channels .
bandwidth of a fading channel; thus they can be allocated to         The AMCTP indicator or CQI can be sent per user or per
users that are either fixed in location or are move slowly . On 5 subchannel. In one embodiment if per subchannel feedback
the other hand , when subcarriers and/ or subchannels that         is employed , since the AMCTP and COI information for the
belong to one user are scattered in the frequency domain , it same users are highly correlated , first the source coding is
results in higher diversity gains for the fast moving users ,    employed to compress the CQI, and then the error correction
and a better interference averaging effect.                      coding is applied to the compressed CQI to provide suffi
   Given the fact that different configurations of subchannel 10 cient error protection .
compositions are suitable for different scenarios or user           In another embodiment, in hybrid ARQ retransmission ,
profiles , subchannel configuration is included in the trans- the transmitter may not use the requested CQI for the
mission adaptation process . In one embodiment, the sub -          retransmission , while it may use the requested CQI for a new
channel configuration information is broadcast on the com -       packet transmission . Instead , in this embodiment, it selects
mon forward control channel to all users such that each user 15 an AMCTP scheme that is appropriate for the retransmission
is informed of its subchannel configuration .                      at the same power level as in the previous transmission (s ),
   In another embodiment, the subchannel configuration is          in order to reduce interference with other users .
adjusted according to deployment scenarios. For instance ,            It should be pointed out that the AMCTP index used for
when a base station is newly deployed with less interference , the transmission from the transmitter to the receiver may be
one form of subchannel configuration is used , and when 20 different from the CQI that the receiver requested , because
more users join the network or more adjacent base stations the transmitter may have other considerations such as qual
are deployed , which results in stronger interference to the   ity of service (QoS ) for different users , network traffic load ,
users in the system , a different subchannel configuration         and power allocation limit .
with better interference averaging effect is used .               The above detailed description of the embodiments of the
   The following paragraphs describe a method of transmit - 25 invention is not intended to be exhaustive or to limit the
ting the control message between the transmitter and invention to the precise form disclosed above or to the
receiver, when the AMCTP scheme is implemented . A                 particular field of usage mentioned in this disclosure. While
forward control link is defined here as the transmission of        specific embodiments of, and examples for, the invention are
the AMCTP indicator from the transmitter to the receiver,          described above for illustrative purposes , various equivalent
and a return control channel is defined as the transmission of 30 modifications are possible within the scope of the invention ,
CQI, as the feedback information , from the receiver to the as those skilled in the relevant art will recognize . Also , the
transmitter, as shown in FIG . 4 .                                 teachings of the invention provided herein can be applied to
   The AMCTP indicator on the forward link can be sent other systems, not necessarily the system described above .
either separately or jointly. For instance , the power control     The elements and acts of the various embodiments described
information , training pilot pattern indicator, or antenna 35 above can be combined to provide further embodiments .
diversity scheme can be embedded in the data transmission .           All of the above patents and applications and other
In another embodiment, AMCTP is transmitted on a separate          references , including any that may be listed in accompany
control channel with stronger error protection .                   ing filing papers, are incorporated herein by reference .
   One way for the transmitter to obtain CQI is to have it       Aspects of the invention can be modified , if necessary , to
explicitly sent from the receiver to the transmitter based on 40 employ the systems, functions, and concepts of the various
channel condition measurements at the receiver during pre -      references described above to provide yet further embodi
 vious transmission ( s). The CQI is then used by the trans -     ments of the invention .
mitter to determine what AMCTP scheme to use for the next             Changes can bemade to the invention in light of the above
transmission . In one embodiment, CQI for one user is             “ Detailed Description .” While the above description details
periodically updated on the return channel, even when there 45 certain embodiments of the invention and describes the best
is no forward transmission targeted for that user . In this case mode contemplated , no matter how detailed the above
the receiver measures the channel conditions from the              appears in text, the invention can be practiced in many ways .
common broadcast transmission or the data transmission             Therefore , implementation details may vary considerably
targeted to other users .                                     while still being encompassed by the invention disclosed
   In one embodiment, the transmitter or the receiver uses 50 herein . As noted above , particular terminology used when
any of several known predictive algorithms to predict cur - describing certain features or aspects of the invention should
rent or future channel conditions based on previous channel not be taken to imply that the terminology is being redefined
measurements . This is more effective for a fast fading herein to be restricted to any specific characteristics , fea
environment where the past measurements may not match              tures , or aspects of the invention with which that terminol
the current transmission closely , due to the fast channel 55 ogy is associated .
variations. The output of the predictive algorithm is then            In general, the terms used in the following claims should
used by the adaptation process to select the best possible         not be construed to limit the invention to the specific
scheme for the current transmission .                              embodiments disclosed in the specification , unless the above
   Another method to obtain CQI is through the transmission        Detailed Description section explicitly defines such terms.
of a probing sequence from the receiver to the transmitter on 60 Accordingly , the actual scope of the invention encompasses
the return channel. In one embodiment, in a multi - carrier      not only the disclosed embodiments , but also all equivalent
communication system , a probing sequence is transmitted         ways of practicing or implementing the invention under the
from the receiver to the transmitter using an overlay scheme     claims.
where the probing sequence is overlaid to the data traffic           While certain aspects of the invention are presented below
without having negative impact on the data transmission 65 in certain claim forms, the inventors contemplate the various
performance . In this case the transmitter estimates the chan -    aspects of the invention in any number of claim forms.
nel profile in the time and /or frequency domains based on         Accordingly , the inventors reserve the right to add additional
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                                                   US 10 ,075 ,941 B2
                                                                                                  10
claims after filing the application to pursue such additional            7 . The base station in claim 6 , further comprising a
claim forms for other aspects of the invention .                      receiver configured to receive channel state information
                                                                      from the mobile station .
  We claim :                                                             8 . A link adaptation method by a mobile station served by
  1. A link adaptation method by a base station servingas a serving base station in an Orthogonal Frequency Division
plurality of mobile stations in an Orthogonal Frequency               Multiplexing (OFDM ) communication system , the commu
Division Multiplexing (OFDM ) communication system , the              nication system utilizing a transmission structure with time
communication system utilizing a transmission structure               slots in the time domain and frequency subchannels in the
with time slots in the time domain and frequency subchan -             frequency domain , the method comprising:
nels in the frequency domain , the method comprising:                   receiving a control message from the serving base station
   transmitting a controlmessage to a mobile station over a                over a control channel,
     control channel,                                                      wherein :
     wherein :                                                             the control message contains transmission parameters
     the control message contains transmission parameters 15                  specific to the mobile station for a subsequent trans
        allocated to the mobile station for a subsequent                     mission by the serving base station over a frequency
       transmission of data by the base station over a                       subchannel to the mobile station in a time slot; and
       frequency subchannel to the mobile station in a time                the mobile station -specific transmission parameters
       slot; and                                                              indicate an antenna transmission scheme and a cor
     the mobile station -specific transmission parameters 20                 responding subchannel configuration , the antenna
        indicate an antenna transmission scheme and a cor                    transmission scheme comprising a transmission
       responding subchannel configuration , the antenna                     diversity scheme or a multiple - inputmultiple -output
       transmission scheme comprising a transmission                         (MIMO ) scheme and the corresponding subchannel
       diversity scheme or a multiple- input multiple -output                 configuration characterized by distributed subcarri
        (MIMO ) scheme and the corresponding subchannel 25                    ers or localized subcarriers in the frequency domain ;
       configuration characterized by distributed subcarri                   and
       ers or localized subcarriers in the frequency domain ;           receiving a data packet transmitted by the serving base
       and                                                           station using the mobile station -specific transmission
   transmitting a data packet to the mobile station over the        parameters over the frequency subchannel.
       frequency subchannel in accordance with the mobile 30 9 . The method in claim 8 , wherein the mobile station
       station -specific transmission parameters.            specific transmission parameters further indicate a training
   2 . The method in claim 1 , wherein the mobile station
specific transmission parameters further indicate a training pilot10 .pattern
                                                                        The
                                                                              .
                                                                            method in claim 8 , wherein the mobile station
pilot pattern .
   3 . The method in claim 1 . wherein the mobile station - 35 specific transmission parameters further indicate power con
specific transmission parameters further indicate power con    trol information .
trol information .                                                       11 . The method in claim 8 , wherein the MIMO scheme is
   4 . The method in claim 1 , wherein the antenna transmis -         for improving transmission throughput based on a channel
sion scheme is based on a channel condition .             condition .
   5 . The method in claim 1, wherein the corresponding 40 12 . The method in claim 8 , wherein the corresponding
subchannel configuration is selected based on a channel subchannel configuration is selected based on a channel
condition .                                               condition .
  6 . A base station serving a plurality ofmobile stations in            13 . A mobile station served by a serving base station in an
an Orthogonal Frequency Division Multiplexing (OFDM )                 Orthogonal Frequency Division Multiplexing (OFDM )
communication system , the communication system utilizing 45 communication system , the communication system utilizing
a transmission structure with time slots in the time domain           a transmission structure with time slots in the time domain
and frequency subchannels in the frequency domain , the               and frequency subchannels in the frequency domain , the
base station comprising a transmitter configured to :                 mobile station comprising a receiver configured to :
  transmit a control message to a mobile station over a                  receive a control message from the serving base station
     control channel, wherein :                                  50        over a control channel,
     the control message contains transmission parameters                  wherein :
       allocated to the mobile station for a subsequent                    the control message contains transmission parameters
       transmission of data by the base station over a                       specific to the mobile station for a subsequent trans
       frequency subchannel to the mobile station in a time                  mission by the serving base station over a frequency
       slot; and                                            55                subchannel to the mobile station in a time slot; and
     the mobile station -specific transmission parameters                  the mobile station -specific transmission parameters
        indicate an antenna transmission scheme and a cor                     indicate an antenna transmission scheme and a cor
       responding subchannel configuration , the antenna                      responding subchannel configuration , the antenna
        transmission scheme comprising a transmission                         transmission scheme comprising a transmission
        diversity scheme or a multiple - input multiple -output 60           diversity scheme or a multiple - input multiple -output
        (MIMO ) scheme and the corresponding subchannel                       (MIMO ) scheme and the corresponding subchannel
        configuration characterized by distributed subcarri                  configuration characterized by distributed subcarri
        ers or localized subcarriers in the frequency domain ;                ers or localized subcarriers in the frequency domain ;
        and                                                                  and
  transmitting a data packet to the mobile station over the 65          receive a data packet transmitted by the serving base
     frequency subchannel in accordance with the mobile                   station using the mobile station -specific transmission
     station -specific transmission parameters .                           parameters over the frequency subchannel.
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                              11
   14 . The mobile station in claim 13, further comprising a
transmitter configured to transmit channel state information
to the serving base station .
                           *    *   *   *
